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                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )             4:04CR3081
                                       )
                   Plaintiff,          )
                                       )
      vs.                              )             MEMORANDUM
                                       )             AND ORDER
BRIAN LAMAR PARKER,                    )
                                       )
                   Defendant.          )

      Defendant has moved for an additional extension of time (filing 63) within which
to respond to the Magistrate Judge’s Report and Recommendation (filing 60).
Defendant’s counsel represents that counsel for the United States has no objection to
Defendant’s motion. Accordingly,

      IT IS ORDERED:

      1.     Defendant’s motion for an extension of time (filing 63) within which to
             respond to the Magistrate Judge’s Report and Recommendation (filing 60)
             is granted;

      2.     Defendant’s response to the Magistrate Judge’s              Report    and
             Recommendation shall be filed on May 5, 2005; and

      3.     The Clerk of Court shall adjust the court’s internal computerized record-
             keeping system to reflect that the “response due” date on Filing 60 is now
             May 5, 2005.

      DATED this 5th day of May, 2005.

                                       BY THE COURT:
                                       s/Richard G. Kopf
                                       United States District Judge
